
747 N.W.2d 283 (2008)
GUARDIAN ALARM COMPANY OF MICHIGAN d/b/a Guardian Security Services, Plaintiff/Counter-Defendant-Appellant,
v.
Richard T. MAY, Bernard Schoch, David J. Marcus and Micronetics Design Corporation, Defendants/Counter-Plaintiffs-Appellees, and
Michael Marks, John Smith, and Don Faybrick, Defendants.
Docket No. 135635. COA No. 269901.
Supreme Court of Michigan.
April 28, 2008.
On order of the Court, the application for leave to appeal the December 4, 2007 judgment of the Court of Appeals is considered, and it is DENIED, because we are not persuaded that the questions presented should be reviewed by this Court.
